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 1   DAVID A. TORRES AND ASSOCIATES
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     ASHLEY WILLIAMS
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                      ) Case No.: 16-CR-00049LJO-SKO
10   UNITED STATES OF AMERICA,                        )
                                                      )
11                   Plaintiff,                       ) DEFENDANTS REQUEST AND WAIVER
                                                      ) OF APPEARANCE
12           vs.                                      )
                                                      )
13   ASHLEY WILLIAMS,                                 )
                                                      )
14                   Defendant                        )
15   Defendant, ASHLEY WILLIAMS, hereby waives her appearance in person in open court upon
16   the Status Conference set for February 21, 2017 in Courtroom 7 of the above entitled court.
17   Defendant hereby requests the court to proceed in her absence and agrees that her interest will be
18   deemed represented at said hearing by the presence of her attorney, DAVID A. TORRES.
19   Defendant further agrees to be present in person in court at all future hearing dates set by the
20   court including the dates for jury trial.
21

22   Date: 2/16/17                                          /s/Ashely Williams_____ ___
23
                                                           ASHLEY WILLIAMS

24   Date: 2/16/17                                         /s/ David A. Torres___________
                                                           David A. Torres
25                                                         Attorney for Defendant




                                          Summary of Pleading - 1
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 1

 2                                            ORDER

 3            Good cause appearing, IT IS HEARBY ORDERED that defendant ASHLEY

 4   WILLIAMS is hereby excused from appearing at the hearing scheduled for February 21, 2017.

 5
     IT IS SO ORDERED.
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 7   Dated:     February 16, 2017                            /s/   Sheila K. Oberto          .
                                                   UNITED STATES MAGISTRATE JUDGE
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                                     Summary of Pleading - 2
